IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL

FOUNDATION,
Plaintiff,
V. : NO. 1:19-CV-00622
AL SCHMIDT, in his official : JUDGE CONNER
capacity as Acting Secretary of the :
Commonwealth of Pennsylvania, and : ELECTRONICALLY FILED

JONATHAN M. MARKS, in his official
capacity as Deputy Secretary for
Elections and Commissions,
Defendants.
NOTICE OF APPEAL

Notice is hereby given pursuant to Federal Rule of Appellate Procedure 4 that
Defendants Acting Secretary of the Commonwealth Al Schmidt and Deputy
Secretary for Elections and Commissions Jonathan M. Marks appeal to the United

States Court of Appeals for the Third Circuit from the final judgment entered on

February 28, 2023 (ECF 133).

Respectfully submitted,
/s/ Donna A. Walsh
Myers, Brier & Kelly, LLP Daniel T. Brier
425 Biden Street, Suite 200 Donna A. Walsh
Scranton, PA 18503 Counsel for Defendants, Acting Secretary of
(570) 342-6100 the Commonwealth Al Schmidt and Deputy

Secretary for Elections and Commissions
Dated: March 29, 2023 Jonathan M. Marks
CERTIFICATE OF SERVICE
I, Donna A. Walsh, hereby certify that a true and correct copy of the foregoing
Notice of Appeal was served upon the following counsel of record via the Court’s
ECF system on this 29th day of March 2023:

Kaylan Phillips, Esquire

Noel H. Johnson, Esquire

Public Interest Legal Foundation
32E Washington Street, Suite 1675
Indianapolis, IN 46204

Linda A. Kerns, Esquire

Law Offices of Linda A. Kerns, LLC
1420 Locust Street, Suite 200
Philadelphia, PA 19102

/s/ Donna A. Walsh
Donna A. Walsh
